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                   IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
                        DIVISION OF ST. THOMAS AND ST. JOHN

MARIE BRYAN,                              )
                                          )
                        Plaintiff,        )
                                          )
                        v.                )                  CASE NO. ST-14-CV-97
                                          )
GOVERNMENT OF THE VIRGIN ISLANDS, )                          JURY TRIAL DEMANDED
                                          )
                        Defendant.        )
_________________________________________ )

                           JOINT PROPOSED DISCOVERY PLAN

        COME NOW, Richard P. Rouco, Esquire and Robert M. Weaver, Esquire, Attorneys for

Plaintiff Marie Bryan, and Ariel M. Smith, Attorney for Defendant Government of the Virgin

Islands. The parties hereby give notice that a Rule 26(f) conference was held on March 2 2015

and that they agree to carry out discovery and case management in accordance with the schedule

set forth below.

   A.      POSSIBILITIES FOR PROMPT SETTLEMENT OR RESOLUTION

        (1)     Plaintiff’s Statement: Plaintiff does not anticipate being able to settle or resolve
        this case prior to the completion of written discovery.

        (2)     Defendants’ Statement: Defendants concur with Plaintiff and do not foresee a
        resolution of this matter prior to the completion of written discovery.

   B.      DISCOVERY PLAN

               (1) Discovery should be conducted in phases and should not be limited to certain
                   issues.

               (2) The parties shall exchange the disclosures required by Rule 26(a) by April 2,
                   2015.

               (3) The presumptive limits set forth in Rule 30(a)(2)(A) for depositions shall
                   apply.

               (4) The presumptive limits set forth in Rule 33(a) for interrogatories shall apply.
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               (5) Initial written discovery shall be propounded and completed on or before
         September 2, 2015; responses will be completed as required by Fed. R. Civ. P. 33 and
         Fed. R. Civ. P. 34; supplemental written discovery will be propounded no later than 21
         days following receipt of the opposing parties’ responses.

                  (6) Fact witness depositions shall be completed on or before February 1, 2016;

                  (7) Plaintiff does not require a physical or mental examination of Defendants.

              (8) Expert disclosures for Plaintiffs, including expert reports, to be completed by
         March 1, 2016;

               (9) Expert disclosures for Defendant, including expert reports, to be completed
         by April 15, 2016;

                 (10) Fact discovery is ongoing and the parties will work together throughout the
         discovery periods to meet their obligations under the Federal Rules and the Rules of this
         Court. All discovery is to be completed by April 15, 2016;

                  (11) Mediation shall be commenced by no later than April 30, 2016.

    C.         MOTIONS

         (1)     Dispositive motions will be filed on or before July 1, 2016.

Respectfully Submitted:                                Respectfully Submitted:
Quinn, Connor, Weaver, Davies & Rouco, LLP             Terri Griffiths, Esquire
                                                       Acting Attorney General
March 16, 2015                                         March 16, 2015

_ /s/Richard R. Rouco          _____                   _____/s/Ariel M. Smith___________
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                                                           Virgin Islands
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_/s/ Michael J. Sanford___
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Attorneys for Plaintiff
